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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION


YVETTE GBALAZEH, LEE SUNBURY, and                      §
FRED SIMS, on behalf of themselves and                 §
all others similarly situated,                         §
                                                       §
       Plaintiffs,                                     §
                                                       §
v.                                                     §       CIV. CASE NO. 3:18-cv-00076-N
                                                       §
CITY OF DALLAS, TEXAS, a municipality of               §
the State of Texas,                                    §
                                                       §
       Defendant.                                      §       JURY TRIAL DEMANDED


          APPENDIX TO PLAINTIFFS’ MOTION TO SUMMARY JUDGMENT

       COME NOW, Plaintiffs YVETTE GBALAZEH, LEE SUNBURY, and FRED SIMS on

behalf of themselves and all others similarly situated (collectively, “Plaintiffs”), file this Appendix

to Plaintiffs’ Third Amended Complaint and Application for Preliminary Injunction (this

“Appendix”):

       EXHIBIT 1 – Elizabeth Findell, Dallas Council Members Call for Panhandling
       Crackdown, DALLAS MORNING NEWS, Nov. 10, 2014,
       https://www.dallasnews.com/news/news/2014/11/10/dallas-council-members-call-for-
       panhandling-crackdown (last visited Aug. 20, 2018).

       EXHIBIT 2 – Robert Wilonsky and Tristan Hallman, Dallas’ Homeless Problem Grew
       While City Officials Took Eye Off the Ball, Audit Claims, DALLAS MORNING NEWS, Dec.
       11, 2017, https://www.dallasnews.com/news/dallas-city-hall/2017/12/11/dallas-homeless-
       problem-grew-city-officials-took-eye-ball-audit-claims (last visited Aug. 20, 2018).

       EXHIBIT 3 – Tasha Tsiaperas, How Many Homeless Live on Streets? The Number
       Jumped 23% This Year, Dallas Morning News, Mar. 21, 2018,
       https://www.dallasnews.com/news/social-justice-1/2018/03/21/homelessness-rise-living-
       dallas-streets-not-shelters-really-spiked (last visited Aug. 20, 2018).

       EXHIBIT 4 – Section 31-35 of the Code of Ordinances of the City of Dallas, Texas
       (the “Free Speech Ban” also known as the “Panhandling Ordinance”)
 Case 3:18-cv-00076-N Document 97 Filed 08/26/19                Page 2 of 114 PageID 1506



        EXHIBIT 5 – Section 28-63.3 of the Code of Ordinances of the City of Dallas, Texas
        (the “Vehicle Panhandling Ordinance”)

        EXHIBIT 6 – Eric Nicholson, Federal Judge: Dallas Ministries Can Feed the Homeless
        Wherever They Damn Well Please, DALLAS OBSERVER, Mar. 29, 2013,
        http://www.dallasobserver.com/news/federal-judge-dallas-ministries-can-feed-the-
        homeless-wherever-they-damn-well-please-7135775 (last visited Aug. 20, 2018).

        EXHIBIT 7 – Eric Nicholson, Dallas Police Are Now Rounding Up Homeless People for
        “Sleeping in Public” Downtown, DALLAS OBSERVER, Feb. 5, 2014,
        https://www.dallasobserver.com/news/dallas-police-are-now-rounding-up-homeless-
        people-for-sleeping-in-public-downtown-7121564 (last visited Aug. 20, 2018)

        EXHIBIT 8 – Eric Nicholson, Local Software Engineer Threatened with Ticket for
        Meditating Downtown, DALLAS OBSERVER, Apr. 28, 2016,
        http://www.dallasobserver.com/news/local-software-engineer-threatened-with-ticket-for-
        meditating-downtown-8251093 (last visited Aug. 20, 2018).

        EXHIBIT 9 – Robert Wilonsky, Woman Who ‘Will Rap 4 Weed’ Sues Dallas Over
        Panhandling Ordinance It Can’t Enforce, DALLAS MORNING NEWS, Jan. 18, 2018,
        https://
        www.dallasnews.com/opinion/commentary/2018/01/18/woman-will-rap-4-weed-sues-
        dallas-panhandling-ordinance-cant-enforce (last visited Aug. 20, 2018).

        EXHIBIT 10 – Stephen Young, Despite Changes, Dallas Panhandling Enforcement Still
        Probably Illegal, DALLAS OBSERVER, Jan. 5, 2018,
        http://www.dallasobserver.com/news/dallas-on-shakey-legal-ground-with-panhandling-
        bans-10228403 (last visited Aug. 20, 2018).

        EXHIBIT 11 – Eric Nicholson, Dallas Is Probably Screwed If It Gets Sued over New
        Panhandling Crackdown, DALLAS OBSERVER, Feb. 3, 2016,
        http://www.dallasobserver.com/news/dallas-is-probably-screwed-if-it-gets-sued-over-
        new-panhandling-crackdown-7990354 (last visited Aug. 20, 2018)

        EXHIBIT 12 – Stephen Young, Dallas’ Panhandling Situation Isn’t Nearly as
        Complicated as the Police Chief Makes it Sound, DALLAS OBSERVER, Jan. 9, 2018,
        http://www.dallasobserver.com/news/dallas-panhandling-policy-update-its-ok-to-beg-
        mostly-10239378 (last visited Aug. 20, 2018).

        EXHIBIT 13 – Unsworn Declaration of Yvette Gbalazeh

        EXHIBIT 14 – Craig Hlavaty, ‘Will Rap 4 Weed’ Sign is a Political Statement, Not a
        Request, HOUSTON CHRONICLE, Sept. 3, 2013,
        http://blog.chron.com/thetexican/2013/09/will-rap-4-weed-sign-is-a-political-statement-
        not-a-request/ (last visited Aug. 20, 2018).


Plaintiffs’ Appendix to Motion for Summary Judgment                                    Page 2 of 3
 Case 3:18-cv-00076-N Document 97 Filed 08/26/19                     Page 3 of 114 PageID 1507



        EXHIBIT 15 – Houston’s 43 Most Fascinating People, HOUSTON CHRONICLE,
        http://www.chron.com/life/ slideshow/Houston-s-43-most-fascinating-people-
        75322/photo-5550408.php (last visited Aug. 20, 2018).

        EXHIBIT 16 – Amber Joseph, Weed Activist Running for Texas Governor to Re-
        Legalize, CROSSROADS TODAY NEWSCENTER, December 7, 2017,
        http://www.crossroadstoday.com/story/37016934/ weed-activist-running-for-texas-
        governor-to-re-legalize (last visited Aug. 20, 2018).

        EXHIBIT 17 – Unsworn Declaration of Lee Sunbury

        EXHIBIT 18 – Unsworn Declaration of Fred Simms

        EXHIBIT 19– Dallas Police Department Roll Call Training Bulletin #2018-03

        Dated: August 26, 2019.

                                                 Respectfully submitted,

                                                 MURPHY RODRIGUEZ, PLLC
                                                 3300 Oak Lawn Ave. Suite 408
                                                 Dallas, Texas 75219
                                                 P: 972-752-0557
                                                 F: 972-692-7719
                                                 Ramon@gotexlaw.com
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                                                 By: /s/Ramon de Jesus Rodriguez
                                                 Ramon de Jesus Rodriguez
                                                 State Bar No. 24088319
                                                 ATTORNEY FOR PLAINTIFFS

                                     CERTIFICATE OF SERVICE

        The undersigned counsel hereby certifies that on August 26, 2019 a true and correct copy
of the foregoing application and supporting documents were served on Defendant’s counsel of
record via ECF in accordance Federal Rules of Civil Procedure.

Sonia Ahmed, sonia.ahmed@dallascityhall.com
Justin Roy, justin.roy@dallascityhall.com
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Dallas City Attorney’s Office
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                                                 By: /s/Ramon de Jesus Rodriguez
                                                 Ramon de Jesus Rodriguez

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Case 3:18-cv-00076-N Document 97 Filed 08/26/19   Page 4 of 114 PageID 1508




                            Exhibit
                              1
5/14/2018                                     Dallas council members call for panhandling crackdown | News | Dallas News
              Case 3:18-cv-00076-N Document 97 Filed 08/26/19                                 Page 5 of 114 PageID 1509




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       NEWS         NOV 2014



     Dallas council members call for panhandling
     crackdown
               Elizabeth Findell




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     Some Dallas City Council members are fed up with panhandlers and want the Dallas Police
     Department to crack down on them — even if other crimes take higher priority.


     “Break their backs, break their spirit — that’s the only way we’re going to win this battle,” council
     member Rick Callahan said Monday during a meeting of the Quality of Life Committee.


     Callahan called panhandlers “nonconformists” and compared them setting down belongings to
     dogs urinating on cars.


     He said “I don’t care” if officers said they had more serious crimes to address. “This is affecting
     the shopping and the well-being of my area."


https://www.dallasnews.com/news/news/2014/11/10/dallas-council-members-call-for-panhandling-crackdown                                  1/4
5/14/2018                                     Dallas council members call for panhandling crackdown | News | Dallas News
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     leave.


     During a panhandling presentation to the committee, Callahan and others emphasized how
     problematic they found it and asked police for tougher enforcement.


     “One guy, he even raises his fist at me,” Callahan said. “ ’Cause he knows my vehicle and he
     hollers and says, ‘You’ll never drive me off,’” he said. “I like to think, ‘Oh, yes we can.’ ”


     The city’s panhandling ordinance was updated in 2011 to outlaw the practice in downtown,
     Uptown, Deep Ellum and Victory Park. Elsewhere, solicitation is banned after dark. Committee
     members said they had seen improvements, but too little enforcement overall.


     Police said they have issued 155 panhandling citations and arrested 39 people in the last six
     months.


     Committee member Carolyn Davis voiced concern about persistence of begging in certain
     motorways but expressed some compassion, mentioning a schoolmate who is homeless now —
     just as he was in first grade, she said.


     Davis questioned whether the role of health and human services in the city was as strong as it
     once was.


     “I’m not going to beat up on the homeless that bad,” she said. “We used to have something to
     guide them.”


     Committee chair Dwaine Caraway suggested police develop a specific panhandler unit and said he
     might support making the ordinance stronger.




                                                                VIEW COMMENTS




       NEWS          H I G H L A N D PA R K     EAST DALLAS              DALLAS          NEWS

https://www.dallasnews.com/news/news/2014/11/10/dallas-council-members-call-for-panhandling-crackdown                      2/4
5/14/2018                                     Dallas council members call for panhandling crackdown | News | Dallas News
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5/14/2018                                               Dallas council members call for panhandling crackdown | News | Dallas News
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8/21/2018                     Dallas' homeless problem grew while city officials took eye off the ball, audit claims | Dallas City Hall | Dallas News
             Case 3:18-cv-00076-N Document 97 Filed 08/26/19                                        Page 10 of 114 PageID 1514




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        DALLAS CITY HALL               DEC 11



     Dallas' homeless problem grew while city of}cials
     took eye off the ball, audit claims
                Robert Wilonsky and Tristan Hallman




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     bDallas City Hall has done a poor job keeping an eye on the people and agencies it has tasked with
     helping the homeless, an internal audit concluded Monday. And the city has little, if any idea,
     who is being helped and how.


     Because of a lack ofbcity oversight of the nonprofit Metro Dallas Homeless Alliance, which has
     been spearheading Dallas' homeless-relief efforts for more than a decade, millions of dollars have
     probably been left on the table that could have gone towardbsheltering the unsheltered, says the
     audit — the most scathing account of Dallas' struggle to address a growing homeless population.


     Top city officials said the audit only confirmed what they already knew. After all, homeless
     encampments are ubiquitous, disparate reliefbefforts pop up here and there, and looking for better


https://www.dallasnews.com/news/dallas-city-hall/2017/12/11/dallas-homeless-problem-grew-city-officials-took-eye-ball-audit-claims                      1/7
8/21/2018                     Dallas' homeless problem grew while city officials took eye off the ball, audit claims | Dallas City Hall | Dallas News
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     data to help3:18-cv-00076-N
                  clean up the messDocument   97 Filed
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                                                                 said they  11already
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     changes and now have the proof they need to push forward.


     Nadia Chandler-Hardy, the city's chief of community services, said the city needed "an overhaul
     across the board."bThe audit, she said, "just kind of solidifies things to me.bNow I feel like I really
     got the baton and I can run."


     City auditor Craig Kinton's lengthy report, sent to the City Council Friday night, said
     MDHA'sbrecently implemented centralized database, called abHomeless Management Information
     System, is incomplete and failed to take into account the varying needs of the homeless service
     providers, chief among them The Bridge downtown, which serves some 7,000 people annually.b


     Tent City closed, so where do Dallas’ homeless go from here?


     As a result, says the audit, The Bridge was "pushed to the brink," and twice in 2017 flirted with
     having to close its doors after the city withheld $4 million in funding due to incomplete
     documentation, which the report says The Bridge was trying to fill out "in good faith."


     Even "a temporary closure would damage the city's homeless response system," says the audit.b


     The city has already seen, since 2013,bits unsheltered populationbquadruple to 1,087. Meanwhile,
     the city's homeless population, which stands at 3,789, increasedbby only about 600 people in that
     time.


     Sam Merten, The Bridge's chief operating officer, said in a statement Monday that he was pleased
     that the audit showed how "HMIS-related issues beyond our control" risked harming the city's
     services.


     Number of homeless people living on the streets of Dallas, Collin counties is up
     drastically


     A renewal for anbinterlocal agreement withbThe Bridge —ba frequent punching bag for some City
     Council members and downtown-area residents who believe it's a lousy neighbor —bis scheduled
     for a council vote Wednesday. The council will also vote tobdeposit $1 million in funds from Dallas
     County earmarked for homeless assistance services.



https://www.dallasnews.com/news/dallas-city-hall/2017/12/11/dallas-homeless-problem-grew-city-officials-took-eye-ball-audit-claims                      2/7
8/21/2018                     Dallas' homeless problem grew while city officials took eye off the ball, audit claims | Dallas City Hall | Dallas News
             Case 3:18-cv-00076-N Document 97 Filed 08/26/19                                        Page 12 of 114 PageID 1516
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                                                                                                                            (Irwin Thompson/Staff Photogr




     The agreement with The Bridge includes more demands from the city, such as a "good neighbor
     provision" and more contract monitoring. City officials also wantbthe nonprofit to rely more on
     nongovernmental funding.bChandler-Hardy, who joined the city earlier this year, said leaders took
     their eye off the ball for a few years and "things fell through the cracks."


     "As we tighten up things around here and run a tighter ship, we also want to make sure our
     partners are doing the same," Chandler-Hardy said.


     Dallas closes another homeless encampment near Fair Park


     Merten said The Bridge is "working closely with the city" to resolve any issues.

https://www.dallasnews.com/news/dallas-city-hall/2017/12/11/dallas-homeless-problem-grew-city-officials-took-eye-ball-audit-claims                             3/7
8/21/2018                     Dallas' homeless problem grew while city officials took eye off the ball, audit claims | Dallas City Hall | Dallas News
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                                                                               to citizens
     experiencing homelessness in our community," he said.


     Council member Mark Clayton, who co-chairs a new regional homelessness services partnership,
     said he feels the newfound attention on the issue is positive.


     One consistent theme is a lack of data, he said. Kinton's auditbnotes that the HMIS database
     covers just 30 percent of all thebbeds being utilized by the service providers to whom the city has
     historically outsourced its homeless care.bAs a result, the audit says,bDallas is near the very
     bottom of the list of 402 cities contributing to the National Homeless Information Projectb, which
     shares best practices aimed at housing, feeding, clothing and employingbthe homeless.


     The audit is critical of the database, which was created by a company that had never before done
     such work, and the way it was implemented by MDHA. The report says the way MDHA used the
     database "did not meet the needs" of the city's five largest homeless service providers: The Bridge,
     the Union Gospel Mission, Dallas Life, the Austin Street Shelter and the Salvation Army.


     Homeless live by a code in I-45 'Tent City,' but Dallas wants them cleared out


     The audit also raises concerns with the way MDHA's board went about selecting the vendor —
     without going through competitive bidding procedures. As a result, says the audit, MDHA
     "violated federal procurement requirements and could result in the loss of the HMIS' federal
     funding."


     At the time, there was but one Dallas official on the MDHA board: Bernadette Mitchell, at the
     time the head of Dallas Housing and Community Services. That department came under fire in a
     2016 audit that said Kinton's staff couldn't find paperwork documenting how developers spent
     $29.9 million intended for affordable housing.


     Via email, MDHA president and CEO Cindy Crain said that her board received the audit Sunday,
     and that it will be reviewed for a full response at its next meeting in mid-January.


     But Kinton and his staff also blame the city for the situation: "During implementation period, the
     city's oversight of MDHA was inadequate."


     City Manager T.C. Broadnax called the audit "a starting point."



https://www.dallasnews.com/news/dallas-city-hall/2017/12/11/dallas-homeless-problem-grew-city-officials-took-eye-ball-audit-claims                      4/7
8/21/2018                     Dallas' homeless problem grew while city officials took eye off the ball, audit claims | Dallas City Hall | Dallas News
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     "And we    3:18-cv-00076-N
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                                                                   and accountability      1518
                                                                                      of staff as well
     as our providers," Broadnax said.


     The need for accountability isba staple of Kinton's audits in recent years. And Broadnax said
     enough is enough.


     "From my understanding of previous audits, and not just in the homeless area, it's clear we don't
     always cross our t's and dot our i's and our policies and processes are sometimes lacking," he said.
     "I look forward to implementing the things that were recommended and we agreed to and
     working more closely with our providers and our own internal departments to do a better job at
     how we deal with homelessness in this community."


     Audit of Homeless Response System Effectiveness 12-08-2017 by Tristan Hallman on Scribd




https://www.dallasnews.com/news/dallas-city-hall/2017/12/11/dallas-homeless-problem-grew-city-officials-took-eye-ball-audit-claims                      5/7
8/21/2018                     Dallas' homeless problem grew while city officials took eye off the ball, audit claims | Dallas City Hall | Dallas News
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     Hardy was hired earlier this year, not last year.



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     Everything you need to know about Dallas' homeless crisis

         How tiny houses and shipping containers just might solve the Dallas homeless crisis

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5/14/2018                           How many homeless live on streets? The number jumped 23% this year | Social Justice | Dallas News
             Case 3:18-cv-00076-N Document 97 Filed 08/26/19                                      Page 18 of 114 PageID 1522




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     How many homeless live on streets? The number
     jumped 23% this year
                Tasha Tsiaperas, Staff Writer




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     The number of homeless people in Dallas and Collin counties has increased again, up 9 percent
     from last year, according to data released Wednesday from the annual homeless census.


     There were 4,140 homeless people counted in the two counties on one night in January, up from
     3,789 counted last year. There was also a 23 percent increase in the unsheltered, those who don't
     seek housing in shelters and live on the streets.


     Tarrant County saw a similar increase, up almost 5 percent from 1,924 homeless people counted
     in 2017 to 2,015 people counted in 2018.


     For homeless to coexist in a booming downtown Dallas, new Stewpot chief must
     be a 'connector'



https://www.dallasnews.com/news/social-justice-1/2018/03/21/homelessness-rise-living-dallas-streets-not-shelters-really-spiked               1/6
5/14/2018                           How many homeless live on streets? The number jumped 23% this year | Social Justice | Dallas News
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     The increase                  Document
                  in overall homelessness     97 aFiled
                                          reflects      08/26/19
                                                   national trend. Page 19 number
                                                                   And the of 114 PageID  1523
                                                                                  of people living
     on the street across the countrybincreased 9 percent last year compared with 2016, according to an
     annual report from the U.S. Department of Housing and Urban Development.


     "It's not something unique about Dallas. There's something systemic in the U.S. that's feeding this
     increase," said Cindy Crain,bpresident and CEO of the Metro Dallas Homeless Alliance.b


     The group conducts the federally required point-in-time census, which tracks trends in
     homelessness each year.b


                                                                                                                             Photo Gallery      1/5




                                                                                                                                  (Ron Baselice/Staff Ph




     Chronic homelessness down
https://www.dallasnews.com/news/social-justice-1/2018/03/21/homelessness-rise-living-dallas-streets-not-shelters-really-spiked                        2/6
5/14/2018                           How many homeless live on streets? The number jumped 23% this year | Social Justice | Dallas News

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                                                                                        residents
     experiencing homelessness for the first time counted this year: 277, compared with 208 in 2017.


     But the number of people who are chronically homeless — meaning they've been on the streets
     more than a year or have experienced homelessness several time in a few years — has been
     steadily decreasing the past three years.


     This year, 424 people were found to be chronically homeless. In 2016, there were 597 chronically
     homeless people counted.b


     Crain said that's probably due to a focus on housing chronically homeless people.




     Mostly men — and aging

     For the past two years, MDHA has gotten more volunteers to count homeless people during the
     annual census. That's helped get a more accurate point-in-time look of homelessness in the area.b


     This year, there were 1,341 unsheltered homeless people counted in the census, up from 1,087 in
     2017.


     The vast majority of those on the street live in Dallas; only 116 were counted in Collin County.
     And nearly 80 percent of the total in Dallas and Collin countiesbare men.b


     That population is also aging. About 700 of those living outside are over 45.


     "How do we let our elderly fall into homelessness?" Crain asked during her presentation
     Wednesday.




https://www.dallasnews.com/news/social-justice-1/2018/03/21/homelessness-rise-living-dallas-streets-not-shelters-really-spiked          3/6
5/14/2018                           How many homeless live on streets? The number jumped 23% this year | Social Justice | Dallas News
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     Kids without families

     There were 662 children counted in the census this year. A vast majority of those kids live in
     emergency shelters or transitional housing with their families.b


     But there were 64 youths living in an emergency shelter without a relative.b


     'Youth are hiding' among homeless in Dallas, but city will seek them out


     This year volunteers went out seeking children living on the street. About 3,000 kids and teens in
     the school system are considered homeless, but social workers believe far fewer actually live on
     the street.b


     But there is no count. The annual census easily tracked the number living in shelters. Many teens
     living on the streets avoid calling attention to themselves.b


     Nearly 41,000 unaccompanied homeless youth were counted nationwide in 2017, according to
     HUD's report. Nearly 90 percent of those youth were between the ages of 18 and 24.


     Theb local survey of homeless youth will be released April 19.b


     $50,000 Pegasus Prize boosts center to help homeless youths in Dallas




        IN THIS COLLECTION...



     Everything you need to know about Dallas' homeless crisis

         How tiny houses and shipping containers just might solve the Dallas homeless crisis


https://www.dallasnews.com/news/social-justice-1/2018/03/21/homelessness-rise-living-dallas-streets-not-shelters-really-spiked          4/6
5/14/2018                           How many homeless live on streets? The number jumped 23% this year | Social Justice | Dallas News
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                                               homelessness  amidPage 22 ofproblems
                                                                  growing   114 PageID 1526

         $50,000 Pegasus Prize boosts center to help homeless youths in Dallas



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5/14/2018                                 How many homeless live on streets? The number jumped 23% this year | Social Justice | Dallas News

                   One of the best
              Case 3:18-cv-00076-N     concerts
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                         Dallas — and you may not…
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     OPINION

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Case 3:18-cv-00076-N Document 97 Filed 08/26/19   Page 24 of 114 PageID 1528


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                            Exhibit
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Case 3:18-cv-00076-N Document 97 Filed 08/26/19                  Page 25 of 114 PageID 1529


                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION


YVETTE GBALAZEH, LEE SUNBURY, and                     §
FRED SIMS, on behalf of themselves and                §
all others similarly situated,                        §
                                                      §
       Plaintiffs,                                    §
                                                      §
v.                                                    §      CIV. CASE NO. 3:18-cv-00076-N
                                                      §
CITY OF DALLAS, TEXAS, a municipality of              §
the State of Texas,                                   §
                                                      §
       Defendant.                                     §      JURY TRIAL DEMANDED

                                           EXHIBIT 4

                                  CITY OF DALLAS, TEXAS
                                   CODE OF ORDINANCES

SEC. 31-35. SOLICITATION BY COERCION; SOLICITATION NEAR DESIGNATED
LOCATIONS AND FACILITIES; SOLICITATION AFTER SUNSET; SOLICITATION-
FREE ZONES.

(a) In this section:

       (1)     AUTOMATED TELLER MACHINE means a machine, other than a telephone:

               (A)     that is capable of being operated by a customer of a financial institution;

               (B)     by which the customer may communicate to the financial institution a
                       request to withdraw a benefit for the customer or for another person directly
                       from the customer’s account or from the customer’s account under a line of
                       credit previously authorized by the financial institution for the customer;
                       and

               (C)     the use of which may or may not involve personnel of a financial institution.

       (2)     CENTRAL BUSINESS DISTRICT SOLICITATION-FREE ZONE means the area
               of the city bounded by Woodall Rodgers Freeway on the north, Central Expressway
               (elevated bypass) on the east, R. L. Thornton Freeway on the south, and Stemmons
               Freeway on the west.
Case 3:18-cv-00076-N Document 97 Filed 08/26/19                  Page 26 of 114 PageID 1530


      (3)       COERCION means:

                (A)    to approach or speak to a person in such a manner as would cause a
                       reasonable person to believe that the person is being threatened with:

                       (i)     imminent bodily injury; or

                       (ii)    the commission of a criminal act upon the person or another person,
                               or upon property in the person’s immediate possession;

                (B)    to persist in a solicitation after the person solicited has given a negative
                       response;

                (C)    to block, either individually or as part of a group of persons, the passage of
                       a solicited person; or

                (D)    to engage in conduct that would reasonably be construed as intended to
                       compel or force a solicited person to accede to demands.

      (4)       DEEP ELLUM SOLICITATION-FREE ZONE means the area bounded by and
                including the following streets or portions of streets:

STREET                         EXTENT
Good-Latimer Expressway Elm Street to Canton Street
Canton Street                  Good-Latimer Expressway to Hall Street
Hall Street                    Canton Street to Elm Street
Elm Street                     Hall Street to Good-Latimer Expressway

      (5)       EXTERIOR PUBLIC PAY TELEPHONE means any coin or credit card reader
                telephone that is:

                (A)    installed or located anywhere on a premises except exclusively in the
                       interior of a building located on the premises; and

                (B)    accessible and available for use by members of the general public.

      (6)       FIXED FOOD ESTABLISHMENT means a food establishment, as defined in
                Section 17-1.5 of this code, that is operated from a fixed facility.

      (7)       PUBLIC TRANSPORTATION STOP means an area officially marked and
                designated as a place to wait for a bus, a light rail vehicle, or any other public
                transportation vehicle that is operated on a scheduled route with passengers paying
                fares on an individual basis.


                                                 2
Case 3:18-cv-00076-N Document 97 Filed 08/26/19                  Page 27 of 114 PageID 1531


      (8)      SELF-SERVICE CAR WASH means a structure:

               (A)    at which a vehicle may be manually washed by its owner or operator with
                      equipment that is activated by the deposit of money in a coin-operated
                      machine; and

               (B)    that is accessible and available for use by members of the general public.

      (9)      SELF-SERVICE FUEL PUMP means a fuel pump:

               (A)    from which a vehicle may be manually filled with gasoline or other fuel
                      directly by its owner or operator, without the aid of an employee or
                      attendant of the premises at which the fuel pump is located; and

               (B)    that is accessible and available for use by members of the general public.

      (10)     SOLICITATION means to ask, beg, solicit, or plead, whether orally or in a written
               or printed manner, for the purpose of receiving contributions, alms, charity, or gifts
               of items of value for oneself or another person.

      (11)     SUNRISE means the time of day published on the weather page of the Dallas
               Morning News as the time for sunrise on a particular day in the city.

      (12)     SUNSET means the time of day published on the weather page of the Dallas
               Morning News as the time for sunset on a particular day in the city.

      (13)     UPTOWN SOLICITATION-FREE ZONE means the area bounded by and
               including the following streets or portions of streets:

STREET EXTENT
Akard Street                 Woodall Rogers Freeway to Cedar Springs Road
Cedar Springs Road           Akard Street to McKinnon Street
McKinnon Street              Cedar Springs Road to the Katy Trail
Katy Trail                   McKinnon Street to Cambrick Street
Cambrick Street              Katy Trail to Central Expressway
Central Expressway           Cambrick Street to Woodall Rogers Freeway
Woodall Rogers Freeway Central Expressway to Akard Street




                                                 3
 Case 3:18-cv-00076-N Document 97 Filed 08/26/19                  Page 28 of 114 PageID 1532


       (14)    VICTORY SOLICITATION-FREE ZONE means the area bounded by and
               including the following streets or portions of streets:

 STREET                        EXTENT
 Harry Hines Boulevard         Dallas North Tollway to N. Field Street
 N. Field Street               Harry Hines Boulevard to Caroline Street
 Caroline Street               N. Field Street to Woodall Rogers Freeway
 Woodall Rogers Freeway Caroline Street to Stemmons Freeway
 Stemmons Freeway              Woodall Rogers Freeway to the Dallas North Tollway
 Dallas North Tollway          Stemmons Freeway to Harry Hines Boulevard

(b)    A person commits an offense if he conducts a solicitation by coercion.

(c)    A person commits an offense if he conducts a solicitation in any outdoor area in the city at
       any time between sunset and sunrise on any day of the week. It is a defense to prosecution
       under this subsection if the solicitation:

       (1)     consisted exclusively of passive, nonverbal acts; or

       (2)     was being conducted on property with the advance written permission of the owner,
               manager, or other person in control of the property.

(d) Solicitation-free zones.

       (1)     A person commits an offense if he conducts a solicitation at any time in any outdoor
               area located within any of the following solicitation-free zones:

               (A)    Central Business District solicitation-free zone.
               (B)    Deep Ellum solicitation-free zone.
               (C)    Uptown solicitation-free zone.
               (D)    Victory solicitation-free zone.

       (2)     It is a defense to prosecution under this subsection if the solicitation was being
               conducted on property with the advance written permission of the owner, manager,
               or other person in control of the property.

(e)    A person commits an offense if he conducts a solicitation to any person placing or
       preparing to place money in a parking meter.

(f)    A person commits an offense if he conducts any solicitation within 25 feet of:

       (1)     an automated teller machine;
       (2)     an entrance or exit of a bank, credit union, or other similar financial institution;

                                                  4
 Case 3:18-cv-00076-N Document 97 Filed 08/26/19                 Page 29 of 114 PageID 1533


      (3)    an exterior public pay telephone;
      (4)    a self-service car wash;
      (5)    a self-service fuel pump;
      (6)    a public transportation stop; or
      (7)    an outdoor dining area of a fixed food establishment.

(g)   For purposes of Subsection (f), measurement will be made in a straight line, without regard
      to intervening structures or objects, from the nearest point at which a solicitation is being
      conducted to whichever is applicable of the following:

      (1)    the nearest entrance or exit of a facility in which an automated teller machine is
             enclosed or, if the machine is not enclosed in a facility, to the nearest part of the
             automated teller machine;

      (2)    the nearest entrance or exit of a bank, credit union, or other similar financial
             institution;

      (3)    the nearest part of an exterior public pay telephone;

      (4)    the nearest part of the structure of a self- service car wash;

      (5)    the nearest part of a self-service fuel pump;

      (6)    the nearest point of any sign or marking designating an area as a public
             transportation stop; or

      (7)    the nearest part of any table in an outdoor dining area or, if the outdoor dining area
             is contained within an enclosure, the nearest part of that enclosure.

(h)   In addition to any enforcement action by a peace officer for a violation of this section, any
      person who is a victim of a solicitation prohibited under Subsection (b), (c), (d), (e), or (f),
      or who witnesses a violation of Subsection (c), (d), (e), or (f), may file a complaint with
      the city attorney. Evidence to support a conviction for a violation of this section may
      include, but is not limited to, testimony of witnesses, videotape evidence of the violation,
      and other admissible evidence.

(i)   An offense under this section is punishable by a fine not to exceed $500. (Ord. Nos. 21030;
      25213; 26738; 28075).




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Case 3:18-cv-00076-N Document 97 Filed 08/26/19   Page 30 of 114 PageID 1534


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 Case 3:18-cv-00076-N Document 97 Filed 08/26/19                        Page 31 of 114 PageID 1535


                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION


YVETTE GBALAZEH, LEE SUNBURY, and                          §
FRED SIMS, on behalf of themselves and                     §
all others similarly situated,                             §
                                                           §
         Plaintiffs,                                       §
                                                           §
v.                                                         §        CIV. CASE NO. 3:18-cv-00076-N
                                                           §
CITY OF DALLAS, TEXAS, a municipality of                   §
the State of Texas,                                        §
                                                           §
         Defendant.                                        §        JURY TRIAL DEMANDED

                                                EXHIBIT 5

                                       CITY OF DALLAS, TEXAS
                                        CODE OF ORDINANCES

SEC. 28-63.3. SOLICITATION TO OCCUPANTS OF VEHICLES ON PUBLIC
ROADWAYS PROHIBITED.

     (a) In this section:

         (1)     GOODS means property of every kind.

         (2)     PUBLIC PROPERTY means:

                 (A)        any property open or devoted to public use or owned by the city; and

                 (B)        any area dedicated to the public use for sidewalk, street, highway, or other
                            transportation purposes, including, but not limited to, any curb, median,
                            parkway, shoulder, sidewalk, alley, drive, or public right-of-way.

         (3)     ROADWAY has the meaning given that term in Chapter 541, Texas Transportation
                 Code.

         (4)     SERVICES means any work done for the benefit of another person.

         (5)     SOLICITATION means any conduct or act whereby a person:




Dallas Code of Ordinances, Section 28-63.3, the “Vehicle Panhandling Ordinance”                Page 1 of 2
 Case 3:18-cv-00076-N Document 97 Filed 08/26/19                        Page 32 of 114 PageID 1536


                 (A)     either orally or in writing, asks for a ride, employment, goods, services,
                         financial aid, monetary gifts, or any article representing monetary value, for
                         any purpose;

                 (B)     either orally or in writing, sells or offers for sale goods, services, or
                         publications;

                 (C)     distributes without remuneration goods, services, or publications; or

                 (D)     solicits signatures on a petition or opinions for a survey.

        (6)      VEHICLE has the meaning given that term in Chapter 541, Texas Transportation
                 Code.

  (b)   A person commits an offense if, while occupying any public property adjacent to any public
        roadway in the city, he knowingly conducts a solicitation directed to, or intended to attract
        the attention of, the occupant of any vehicle stopped or traveling on the roadway. An
        offense occurs when the solicitation is made, whether or not an actual employment
        relationship is created, a transaction is completed, or an exchange of money, goods, or
        services takes place.

  (c)   It is a defense to prosecution under Subsection (b) that the person was:

        (1)      summoning aid or requesting assistance in an emergency situation; or

        (2)      a law enforcement officer in the performance of official duties.

  (d)   In addition to any enforcement action by a peace officer for a violation of this section, any
        person who is a victim of a solicitation prohibited under Subsection (b), or who witnesses
        a violation of Subsection (b), may file a complaint with the city attorney. Evidence to
        support a conviction for a violation of this section may include, but is not limited to,
        testimony of witnesses, videotape evidence of the violation, and other admissible
        evidence. (Ord. 25213).




Dallas Code of Ordinances, Section 28-63.3, the “Vehicle Panhandling Ordinance”              Page 2 of 2
Case 3:18-cv-00076-N Document 97 Filed 08/26/19   Page 33 of 114 PageID 1537


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5/14/2018                                                 Federal Judge: Dallas Ministries Can Feed the Homeless Wherever They Damn Well Please | Dallas Observer




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                                                                                                                                                                    Case 3:18-cv-00076-N Document 97 Filed 08/26/19




              Federal Judge: Dallas Ministries Can
              Feed the Homeless Wherever They Damn
              Well Please
              ERIC NICHOLSON             MARCH 29, 2013             7:00AM


                                                                           It's been eight years since the Dallas City Council
                                                                           passed its homeless feeding ordinance, which barred
                                                                           charity groups from serving food except at certain
                                                                                                                                                                    Page 34 of 114 PageID 1538




                                                                           designated sites. And it's been just more than six
                                                                           years since two of those groups, Big Heart Ministries

http://www.dallasobserver.com/content/printView/7135775
                                                                           and Rip Parker Memorial Homeless Ministry sued                                                   1/3
5/14/2018                                                 Federal Judge: Dallas Ministries Can Feed the Homeless Wherever They Damn Well Please | Dallas Observer
                                                                           and Rip Parker Memorial Homeless Ministry, sued
                                                                           the city in federal court over the ban.

                                                                           The case ended today in a victory for the homeless
              and those who feed them. As the                                                   first reported, U.S. District Judge Jorge
              Solis ruled that the city's ordinance amounts to a violation of Big Heart's and Rip Parker
              Memorial's rights under the Texas Religious Freedom Restoration Act, which bars state
              and local government a government from doing anything that might "substantially
              burden a person's free exercise of religion."

              But the victory is a narrow one. The city's homeless feeding ordinance remains intact,
              except where it concerns the plaintiffs and, by extension, other groups who feel a
              religious duty to serve the underfed. Those of you who simply feel sorry for the
              unhoused, without the backing of religious conviction? Drop those plans to hand out
              sandwiches on a street corner. You're better off just volunteering at The Stewpot, unless,
              of course, you enjoy six-year legal battles.
                                                                                                                                                                    Case 3:18-cv-00076-N Document 97 Filed 08/26/19




              "I'm totally blessed," Big Heart founder Don Hart told CBS 11. "It's been a great, great,
              great victory." He plans to resurrect his ministry on Easter Sunday.


                                                     RELATED TOPICS:         NEWS          CITY HALL           COURTS
                                                                                                                                                                    Page 35 of 114 PageID 1539




http://www.dallasobserver.com/content/printView/7135775                                                                                                                     2/3
5/14/2018                                                 Federal Judge: Dallas Ministries Can Feed the Homeless Wherever They Damn Well Please | Dallas Observer
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http://www.dallasobserver.com/content/printView/7135775                                                                                                                     3/3
Case 3:18-cv-00076-N Document 97 Filed 08/26/19   Page 37 of 114 PageID 1541


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                            Exhibit
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5/14/2018                                                 Dallas Police Are Now Rounding Up Homeless People for "Sleeping in Public" Downtown | Dallas Observer




                                       White
                                     Standing…
                                        $349
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                                                                                                                                                                  Page 38 of 114 PageID 1542




http://www.dallasobserver.com/content/printView/7121564                                                                                                                   1/5
5/14/2018                                                 Dallas Police Are Now Rounding Up Homeless People for "Sleeping in Public" Downtown | Dallas Observer




                            A group of homeless people bedding down for the night on a street near The Bridge.            Courtesy of Tanya Ragan



              Dallas Police Are Now Rounding Up
              Homeless People for "Sleeping in Public"
              Downtown
              ERIC NICHOLSON             FEBRUARY 5, 2014           7:00AM


              Dallas has never been able to clear the homeless from downtown streets, though not for
              lack of trying. Bans on panhandling, feeding homeless people, library benches and
              sleeping in public have provided city officials with helpful tools, but they have proved
              inadequate.

              Or perhaps it's just that because they weren't being deployed with sufficient bluntness.
                                                                                                                                                                  Case 3:18-cv-00076-N Document 97 Filed 08/26/19




              In November, Dallas police began daily, early-morning sweeps of the Central Business
              District, arresting people caught sleeping on sidewalks, benches, stoops. They are loaded
              into a paddy wagon and taken to Lew Sterrett. (Note: Following the story, Dallas Police
              Chief David Brown tweeted that DPD will review the practice.)




              "A lot of people around downtown, especially in the Farmers Market area, were
                                                                                                                                                                  Page 39 of 114 PageID 1543




              complaining that, in the morning, they'd find people sleeping on their steps and [in front
              of] different businesses," says Larry Litton, a sergeant in DPD's Central Business District
http://www.dallasobserver.com/content/printView/7121564
                  i                                                                                                                                                       2/5
5/14/2018                                                 Dallas Police Are Now Rounding Up Homeless People for "Sleeping in Public" Downtown | Dallas Observer

              unit.

              Before, when officers would find people sleeping, they might write them a ticket, which
              would inevitably go unpaid. If that person kept showing up at the same spot, there might
              be an arrest. The new approach is more effective, Litton says, since it "gives them more
              incentive to comply with the law."

              Litton says the numbers bear this out. Since the paddy wagon got rolling in November,
              Litton has seen a steady decline in the number of arrests.

              "We're not taking any more enforcement action," he says. "It's just that we're not writing
              tickets."

              Tanya Ragan, president of the Farmers Market Stakeholders Association, contends that
              DPD's early-morning sweeps are an attempt to cope with fallout from a policy change at
              The Bridge homeless shelter.
                                                                                                                                                                  Case 3:18-cv-00076-N Document 97 Filed 08/26/19




              "The Bridge used to let police sign in every homeless person that showed up," she writes
              in an email. "Now police are only allowed 7 per night unless the temp drops below 37."

              That has had the predictable effect of increasing the number of people camping out in
              front of nearby homes and businesses.

              "At [FMSA]'s last crime watch meeting The Bridge security director flat out told the
              group that they wouldn't allow homeless on their property at night," Ragan writes. "They
              either had to come inside by 7pm or get kicked off the Bridge property."
                                                                                                                                                                  Page 40 of 114 PageID 1544




              An official with The Bridge has not yet responded to a request for comment but an
              independent source confirms the facility has drastically cut down on the number of
http://www.dallasobserver.com/content/printView/7121564                                                                                                                   3/5
5/14/2018                                                 Dallas Police Are Now Rounding Up Homeless People for "Sleeping in Public" Downtown | Dallas Observer

              individuals police are allowed to bring in at night.




              The sleeping-in-public ban has been around long enough that's it's not often discussed,
              but it was controversial when it was implemented in the early 1990s and sparked a class
              action lawsuit by Dallas' homeless. They scored an initial victory in 1994, when a federal
              judge forbade Dallas police from enforcing the ban, reasoning that, because shelter
              space is limited, and because human beings need sleep, the measure amounted to cruel
              and unusual punishment.

              The decision was reversed on appeal, although not because the U.S. Court of Appeals for
              the Fifth Circuit found the measure constitutional. Since none of the tickets or arrests
              made under the law ever led to convictions, the homeless plaintiffs didn't have standing
              to bring their case.
                                                                                                                                                                  Case 3:18-cv-00076-N Document 97 Filed 08/26/19




              In other words, Dallas is free to arrest people for sleeping in public all it wants so long as
              it doesn't actually prosecute them. Which is what appears to happening every morning
              downtown.




                                                                 RELATED TOPICS:      NEWS           CRIME
                                                                                                                                                                  Page 41 of 114 PageID 1545




http://www.dallasobserver.com/content/printView/7121564                                                                                                                   4/5
5/14/2018                                                 Dallas Police Are Now Rounding Up Homeless People for "Sleeping in Public" Downtown | Dallas Observer




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                                                                                                                                                                  Case 3:18-cv-00076-N Document 97 Filed 08/26/19
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http://www.dallasobserver.com/content/printView/7121564                                                                                                                   5/5
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                            Exhibit
                              8
5/14/2018                                                      Dallas' De Facto Meditation Ban | Dallas Observer




                                                                        Ergonomic OÕce Chair. Red Apple Color.




                                                                        $319
                                                                                                                                 Info
                                                                                                                                        Case 3:18-cv-00076-N Document 97 Filed 08/26/19
                                                                                                                                        Page 44 of 114 PageID 1548




              No meditating, unless you have your eyes open.                                                       Google 2016



http://www.dallasobserver.com/content/printView/8251093
              Local Software Engineer Threatened with                                                                                           1/5
5/14/2018                                                          Dallas' De Facto Meditation Ban | Dallas Observer

              Local Software Engineer Threatened with
              Ticket for Meditating Downtown
              ERIC NICHOLSON             APRIL 28, 2016   4:00AM


              AndybSeremetis likes to meditate. You might even say he                                   to meditate. Too many
              days without meditating and his mood sours and days he would typically sail through
              become a slog.

              "It creates a feeling of being present," he says. "I notice things around me more. I’m not
              thinking about what happened yesterday or what’s going to happen tomorrow."

              He prefers to have 45 minutes of uninterrupted contemplation, which he times with a
              meditation app on his phone that emits an unobtrusive chime every five minutes. But
              Seremetis works full time as a software engineer and has a life, so he doesn't always
              have 45 minutes to spare. Lately, he's taken to squeezing weekday meditation into his
              lunch break. There are plenty of peaceful nooks along Commerce Street downtown that
                                                                                                                                Case 3:18-cv-00076-N Document 97 Filed 08/26/19




              are both close to his favorite lunch spot, Spice in the City, and suitable for 20 to 25
              minutes of focused solitude.

              "I just go and sit," Seremetis says. "Sometimes I sit cross-legged on a stone or
              something." On Monday, he settled into a leafy plaza next to AT&T's towering white
              stone headquarters. "This time I chose to sit on the bench because I think my pants were
              too tight."

              Seremetis opened his meditation app, sat up straight, and closed his eyes. "About seven
                                                                                                                                Page 45 of 114 PageID 1549




              minutes in, one security guard came up to me and asked if I was sleeping," Seremetis
              recalls. "I said I wasn’t."
http://www.dallasobserver.com/content/printView/8251093                                                                                 2/5
5/14/2018                                                   Dallas' De Facto Meditation Ban | Dallas Observer


              The security guard walked away. Seremetis closed his eyes. His phone chimed a second
              time. It hadn't made it to a third when Seremetis was interrupted by another security
              guard, this one accompanied by a man Seremetis took to be a Dallas PD bike cop on
              account of the uniform with the official-looking patch on the sleeve and his
              authoritative manner.

              "Are you meditating?" Seremetis remembers the cop figure asking.

              "Yeah. Yeah, I am," Seremetis replied.

              "Well, can you do it with your eyes open, because [otherwise] they'll think you're
              sleeping and they'll give you a $300 ticket."

              The tone of his voice told Seremetis that by "they," the cop figure meant "I."b

                                                          It's worth pausing here to unpack a few
                                                          things.bOne is to acknowledge that Seremetis was
                                                                                                                Case 3:18-cv-00076-N Document 97 Filed 08/26/19




                                                          on private property. While the plaza next to
                                                          AT&T's headquarters is open to the public and
                                                          has the appearance of a small park, Seremetis
                                                          was there at the pleasure of AT&T.

                                                          It's also not clear whether the cop figure was
                                                          actually a cop. Dallas PD patrols downtown but
                                                          so does the Downtown Safety Patrol, whose
                                                                                                                Page 46 of 114 PageID 1550




                                                          uniforms look awfully cop-like but who are
                Andy Sermetis                             actually security guards who can't write tickets
                                                          or make arrests. When asked, Seremetis couldn't
http://www.dallasobserver.com/content/printView/8251093                                                                 3/5
5/14/2018                                                   Dallas' De Facto Meditation Ban | Dallas Observer
                                                          or make arrests.               hen asked, Seremetis couldn t
              say, just that he was under the impression that he was talking to a cop.

              If the officer was DPD, he would presumably have known that absleeping-in-public ticket
              sets one back $146, not $300, and that Seremetis could almost certainly beat the fine by
              convincing a municipal judge that closing ones eyes to meditate does not qualify as
              "sleep[ing] or doz[ing]," which is what the city's sleeping-in-public ordinance explicitly
              bans.

              None of which does much to lessen the absurdity of the situation.

              If the cop figure was an actual cop, he should have had something better to do. If, as
              seems more likely, he represented the Downtown Safety Patrol, he was still operating
              under color of officialdom. They have their official-looking uniforms and are funded by
              the Downtown Improvement District, which was created when City Hall agreed to let
              downtown property owners tax themselves and use the revenue to improve and provide
              extra security for their small corner of the city. Though technically employed by a
                                                                                                                         Case 3:18-cv-00076-N Document 97 Filed 08/26/19




              nonprofit, Downtown Dallas Inc., the safety patrol is both a product and enforcer of city
              policy, as Downtown Dallas Inc. spokeswoman Shalissa Perry emphasized in response to
              a question about the organization's meditation policy.

              "We don't have a meditation policy per se. DSP just helps enforce the 'no sleeping in
              public' city ordinance when necessary," she wrote in an email.

              One such policy is the city's aforementioned ban on sleeping in public, which was
              created and has been used aggressively as a tool to keep the homeless from cluttering up
                                                                                                                         Page 47 of 114 PageID 1551




              downtown. Seremetis, with his thick beard and wavy mane of hair, can appear scruffy,
              but he's not homeless. "I wear [my hair] in a bun at work," he says. "I don’t look like a
              businessperson or anything but I don’t look like a vagrant either I wear nice shirts
http://www.dallasobserver.com/content/printView/8251093                                                                          4/5
5/14/2018                                                                       Dallas' De Facto Meditation Ban | Dallas Observer
              businessperson or anything, but I don t look like a vagrant either. I wear nice shirts. ...
              That day I had a really nice shirt."

              Even if he was homeless, so what? There's a case to be made — not terribly convincing
              but at least coherent — that economic development and neighborhood-building in the
              city's core justifies the thousands of sleeping-in-public tickets DPD writes every year;
              businesses and residents won't want to come downtown if everyone has to step over
              sleeping homeless people.bBut does Dallas really want to be a place wherebpeople get
              harassed by cops and/or security guards for meditating? (If the answer is "yes," then the
              City Council should probably write "go to Austin, hippy" into the city code.)

              Seremetis certainly thinks downtown's de facto meditation ban is absurd. Not that he
              plans to stop.b"I really had no response," Seremetis says of Monday's encounter. "I was
              still really calm from my meditation. I just kind of looked at him and smiled."


                                                          RELATED TOPICS:       NEWS             CITY HALL
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                            Exhibit
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5/14/2018                    Woman who 'Will Rap 4 Weed' sues Dallas over panhandling ordinance it can't enforce | Commentary | Dallas News
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      C O M M E N TA R Y    JAN 18



    Woman who 'Will Rap 4 Weed' sues Dallas over panhandling
    ordinance it can't enforce
              Robert Wilonsky, City Columnist




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    The city of Dallas has finally been sued in federal court over its panhandling ordinance. Andbthe plaintiff is a
    woman running for Texas governor.bNo, no. Not former Sheriff Lupe Valdez. Try instead YvettebGbalazeh, the
    street-corner activist otherwise known as "Will Rap 4 Weed."


    And, no, that's not the punch line. This is:


    Gbalazeh and her attorney and City Hall higher-upsbarebon the same side here. More or less. bAs City Attorney
    Larry Casto put it Wednesday when I asked about thebcomplaint that says begging ordinances violate First
    Amendment rights, "It's not like we're necessarily at odds."


    Stop panhandling in Dallas? Sorry, but that's illegal


    Because if we've learned anything in recent weeks, it's that the people at City Hall tasked with enforcing the laws
    —bCasto and Dallas Police Chief U. Renee Hall —bdon't think the begging law's any good. Well, at least the part of
    the law that outlaws begging.bThreatening someone for their cash moneybisbstill illegal; sobis assaulting a passer-
    by who won't unpocket loose change. But you don't need a panhandling law to tell you hitting someone is a no-
    no.

https://www.dallasnews.com/opinion/commentary/2018/01/18/woman-will-rap-4-weed-sues-dallas-panhandling-ordinance-cant-enforce                 1/6
5/14/2018                  Woman who 'Will Rap 4 Weed' sues Dallas over panhandling ordinance it can't enforce | Commentary | Dallas News
           Case 3:18-cv-00076-N
    "The ordinance is just abway to give Document    97timeFiled
                                         people a hard           08/26/19ordinarily
                                                            you wouldn't     Page be51able
                                                                                       of 114
                                                                                           to givePageID   1555
                                                                                                   a hard time
    to,"bGbalazeh said Thursday.


    The City Council has spent forever trying tobpush panhandlers off sidewalks and into the shadows. And the city
    swears it wants to do more than that. It proposes putting up signs begging people not to give to beggars. Or a jobs
    program for panhandlers. Or installing donation boxes in Deep Ellum that look like parking meters.b




    But it can't settle on the what or how or who, because not all panhandlers are the same. Some are homeless,
    mentally ill, drug addicted. And some are pros who don't want to work. So City Hall does what it's best at: biding
    its time and threateningbthem all with $500 fines they can't pay and jail timebthat only makes it harder to find a
    job.


    The '07 version of the law says vanishing beggars from downtown and Uptown and Deep Ellum especially is "in
    the best interest of the public health, safety and welfare."bNot so much, the Supreme Court has said, most recently
    in 2015, when a scrap over church signs ended with the Supremes ruling that cities can't regulate what people say.
    Ever since, big cities across the country have ditched or rewritten their panhandling ordinances.b


    Which is whybCastobtook the council behind closed doors in September and told them the panhandling ordinance
    is a loser. He said the same thing earlier this month after cops were told in a training bulletin at December's end
    to only go after folks scrounging for coin in the roadway. Hall explained the change to the council last week. Some
    on the council didn't understand it. And some,bwho want the cops to chase off and break the spirits of
    panhandlers,bdidn't like it.bBut tough.b



https://www.dallasnews.com/opinion/commentary/2018/01/18/woman-will-rap-4-weed-sues-dallas-panhandling-ordinance-cant-enforce               2/6
5/14/2018                  Woman who 'Will Rap 4 Weed' sues Dallas over panhandling ordinance it can't enforce | Commentary | Dallas News

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    Now, there's more tobGbalazeh's lawsuit than just the free-speech part. She also wants damagesbfor being arrested
    and having her rights violated.bAnd her lawyer, Ramon Rodriguez, is hoping to turn this into a class action, since,
    according to his math, the city arrested or fined some 40,000 people for solicitation between 1999 and 2016,
    whenbGbalazeh was twice taken to county lock-up.


    "Most of those people don't have a voice," Rodriguez said Wednesday.b"They don't have anyone to fight for them."


    But the bulk of the lawsuit takes aim at the constitutionality of the ordinance. Says the complaint,bthe law targets
    "Dallas' less fortunate residents [and] literally silences these Dallasites in order to shield more economically
    fortunate people from speech that makes them uncomfortable."




    Casto said the city's ready with a defense: "Our argument will be we are now squarely in compliance with current
    federal case law." But, he acknowledged Wednesday, an internal DPD memobdoesn't erase the fact the law's still on
    the books, making the city ripe for lawsuits like this one.


    "With respect to the free speech claim only, we have no fundamental disagreement with the basis of the
    allegations," he said aboutbGbalazeh's suit.


    I asked the city attorney if they're looking at erasing the ordinancebcompletely. Said Casto, "We are reviewing
    changes that are necessary to the ordinance."


https://www.dallasnews.com/opinion/commentary/2018/01/18/woman-will-rap-4-weed-sues-dallas-panhandling-ordinance-cant-enforce               3/6
5/14/2018                  Woman who 'Will Rap 4 Weed' sues Dallas over panhandling ordinance it can't enforce | Commentary | Dallas News
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                                                                                         downtown


    The 36-year-old Gbalazehbhas long advocated for cite-and-release and decriminalizing weed. Sometimes she does
    that atbCity Hall or Dallas County CommissionersbCourt. And sometimes she does that on Deep Ellum and South
    Dallas street corners, much to the chagrin of thebDeep Ellum Community Watch-ers who told Central Track in the
    spring of 2015 that she was "an especially aggressive panhandler who was quick to get in the face of passers-by
    who weren't charmed by her pro-marijuana stance."


    She told this newspaper in September 2015 that cops leave her alone. A few months later, she was arrested, twice
    in the span of two weeks. Gbalazeh and Rodriguez, who met throughbanother man popped for panhandling, have
    been working on filing the lawsuit ever since. So happened they filed at just the right time.


    "I will be the poster child for this fight,"bGbalazeh said. "And I have no problem with that."


    Will Rap for Weed Lawsuit by Robert Wilonsky on Scribd




                                                                 VIEW COMMENTS


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5/14/2018                                                  Dallas on Shakey Legal Ground With Panhandling Bans | Dallas Observer
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http://www.dallasobserver.com/content/printView/10228403                                                                                   1/4
5/14/2018                                                               Dallas on Shakey Legal Ground With Panhandling Bans | Dallas Observer




              This is free speech, according to recent court rulings.                                                                     Hannly Sam via Flickr



              Despite Changes, Dallas Panhandling
              Enforcement Still Probably Illegal
              STEPHEN YOUNG            JANUARY 5, 2018         4:00AM


              Over the last couple of weeks, a small furor has developed around the issue of
              combating panhandling in Dallas. The week before Christmas, several Dallas Police
              Department commanders ordered their troops to stop issuing citations for "solicitation
              by coercion" — aggressive panhandling — or panhandling near gas pumps or ATMs
              because the citations might not be legal. Instead, the commanders said, laws banning
                                                                                                                                                                  Case 3:18-cv-00076-N Document 97 Filed 08/26/19




              panhandlers from asking drivers on Dallas streets for cash should be the primary means
              of rousting beggars.

              A directive from Dallas police Chief U. Renee Hall issued the following week again
              emphasized panhandling enforcement using the roadway solicitation ban. Both moves
              are intended to keep the city out of legal trouble. For the past two years, courts across
              the country have stuck down panhandling bans.

              The problem is that the city's law against panhandling along roadways might not pass a
                                                                                                                                                                  Page 58 of 114 PageID 1562




              court challenge, either, says a lawyer with the American Civil Liberties Union of Texas.

              In 2015, the U.S. Supreme Court decided Reed v. Gilbert a case that slapped down an
http://www.dallasobserver.com/content/printView/10228403                                                                                                                  2/4
5/14/2018                                                  Dallas on Shakey Legal Ground With Panhandling Bans | Dallas Observer


              Arizona town for banning a church from posting temporary directional signs while
              allowing residents to post political signs of the same size. Using Gilbert as precedent,
              homeless advocacy groups have won a series of verdicts establishing panhandling as
              protected free speech, leaving Dallas' solicitation by coercion law, which also bans
              panhandlingbbetween sunset and sunup and in downtown and Deep Ellum, vulnerable to
              a challenge.



                      "When courts analyze these panhandling ordinances, they
                    generally find that they're content-based restrictions on speech
                      and expression because it's saying you can't speak in this
                    particular way in [an] area." – ACLU of Texas attorney Kali Cohn


              "Courts have held that panhandling is a form of charitable donation that is protected
              expression," says Kali Cohn, a staff attorney for the ACLU of Texas, one of the groups
                                                                                                                                   Case 3:18-cv-00076-N Document 97 Filed 08/26/19




              that's fought panhandling laws across the state. "When courts analyze these
              panhandling ordinances, they generally find that they're content-based restrictions on
              speech and expression because it's saying you can't speak in this particular way in [an]
              area."

              Cohn says that by banning panhandling in the Central Business District and Deep Ellum
              but allowing other kinds of speech, like busking, the city has created an unconstitutional
              content restriction on the speech of residents and visitors to those areas. The same goes
                                                                                                                                   Page 59 of 114 PageID 1563




              for the ban on panhandling near ATMs and gas pumps. By not enforcing those
              provisions of city code, DPD hopes it can stave off a potential legal challenge because it
              won't be creating potential plaintiffs for a suit by issuing citations.
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5/14/2018                                                                Dallas on Shakey Legal Ground With Panhandling Bans | Dallas Observer



              But the city ordinance the department is explicitly enforcing isn't enforced uniformly.

              "The solicitation on a roadway ordinance is messed up because we don't enforce it
              evenhandedly," Dallas City Council member Philip Kingston says. "We let the firefighters
              fill the boot, but then if you ask somebody for something on a roadway, then you're
              breaking the law."

              Cohn wouldn't comment on whether the ACLU of Texas plans to sue Dallas over its
              panhandling enforcement but said a court likely wouldn't look favorably on the city's
              ordinance.

              "I don't want to comment directly on whether [Dallas's panhandling rules] are or aren't
              subject to a challenge," Cohn says, "but, based on current case law around the country,
              provisions like that have been found to be problematic."
                                                                                                                                                 Case 3:18-cv-00076-N Document 97 Filed 08/26/19




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5/14/2018                                                 Dallas Panhandling Law Unlikely to Survive Legal Challenge | Dallas Observer




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5/14/2018                                                    Dallas Panhandling Law Unlikely to Survive Legal Challenge | Dallas Observer




                                                                                                                                            Beth Swanson



              Dallas Is Probably Screwed If It Gets Sued
              over New Panhandling Crackdown
              ERIC NICHOLSON             FEBRUARY 3, 2016   4:00AM


              When Deputy Chief Gary Tittle formally announced the Dallas Police Department'sbnew
              downtown panhandling crackdown on Monday, he was careful to define the target of the
              operation as "that aggressive panhandler,bthe one approaching an individual demanding
              money, asking for money, impeding their walkway on the sidewalks, getting out into the
              street, on the curbs, moving out into the highway from the shoulder of the highway."

              To a certain extent, the narrow focus on aggressive panhandlers is simple pragmatism.
              They are the ones that can make walking downtown sidewalks feel like running a
                                                                                                                                                           Case 3:18-cv-00076-N Document 97 Filed 08/26/19




              gauntlet;bthe guy politely asking for change is a comparatively minor annoyance. But
              there also seems to be a good deal of legal ass-covering at work, a hint of which could be
              picked up in Tittle's description of aggressive panhandlers. Most of the actions he
              described (i.e., wandering into a roadway) can be construed as illegal in their own right,
              regardless of whether an individual is asking for money.

              This is significant because prosecuting people for panhandling triggers certain
              constitutional questions, the answers to which aren't terribly favorable to places that
              outlaw the practice. Asking for money — which, if you strip away the discomfort of
                                                                                                                                                           Page 63 of 114 PageID 1567




              passersby and don't count the hyperaggressive Darryl Davisesbof the world, is all
              panhandling is — is a form of speech that courts generally agree is protected by the First
              Amendment even if the U S Supreme Court has never directly weighed in Absent some
http://www.dallasobserver.com/content/printView/7990354                                                                                                            2/5
5/14/2018                                                 Dallas Panhandling Law Unlikely to Survive Legal Challenge | Dallas Observer
              Amendment, even if the U.S. Supreme Court has never directly weighed in. Absent some
              offensive act (the Supreme Court has ruled that conduct doesn't enjoy the same
              protection as speech), the barriers to government curtailing any type of speech are
              high.bConcerns that begging makes passersby uncomfortable or harms the perception of
              certain neighborhoods don't cut it.

              And so, for the past quarter-century, cities have tried to craft panhandling bans that are
              narrow enough to pass constitutional muster while still being potent enough to
              effectively address the concerns of residents and business owners. Dallas designated
              certain downtown neighborhoods (i.e., the Central Business District, Deep Ellum,
              Uptown and Victory Park) as "solicitation-free zones" and banned panhandling within 25
              feet ofbparking meters, pay phones, gas pumps, ATMs, DART stops, restaurants and car
              washes. Asking for money is also illegal between sunset and sunrise (the official times,
              according to city code, are based on the daily listing onb                                                           ' weather
              page), as is aggressive panhandling, i.e., "solicitation by coercion." The latter is the
              charge DPD appears to be relying upon during its crackdown.
                                                                                                                                               Case 3:18-cv-00076-N Document 97 Filed 08/26/19




              In the past, Dallas might have been on reasonably solid legal ground. In June, however, it
              became much shakier after the U.S. Supreme Court ruled 9-0 that Gilbert, Arizona, had
              unconstitutionally restricted the speech of a small, itinerant church by limiting the size
              and duration of signs directing worshipers to its services while allowing campaign and
              other signs to be larger and remain up longer.

              The ruling didn't address begging per se, but it subtly expanded the types of speech
              restrictions likely to be overturned on constitutional grounds. Treating speech
                                                                                                                                               Page 64 of 114 PageID 1568




              differently based on its message was already a well-established no-no, a notion that had
              been baked into the Town of Gilbert's sign law.bIt was studiously viewpoint-neutral,
              treating all campaign signs, be they Democrat, Republican or third-party, just as it
http://www.dallasobserver.com/content/printView/7990354                                                                                                3/5
5/14/2018                                                 Dallas Panhandling Law Unlikely to Survive Legal Challenge | Dallas Observer
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              treated all temporary directional signs the same, whether they led to a small evangelical
              church or a gathering of atheists. In the majority opinion, Justice Clarence Thomas
              wrote that "[singling] out specific subject matter for differential treatment, even if it does
              not target viewpoints within that subject matter" is unconstitutional.

              In casebthe implications for panhandling laws wasn't sufficiently clear, the court at the
              same time asked a federal judge to reconsider his decision to uphold a ban on aggressive
              panhandling in Worcester, Massachusetts, in light of the                                       bdecision.

              "It used to be that, before                           , blanket bans were unconstitutional, but more
              nuanced, aggressive panhandling ones, depending on the wording, depending on what
              was at issue, those were making it through," says Eric Tars, senior counsel at the
              National Law Center on Homelessness & Poverty. "Since                                         even the aggressive
              panhandling ones have been thrown out."

              The first victim wasban anti-panhandling law inbSpringfield, Illinois.bAbfederal appeals
                                                                                                                                         Case 3:18-cv-00076-N Document 97 Filed 08/26/19




              court in Chicago had initially upheld the law but, citing                                 , reversed course and
              overturned it. The next month a federal judge rejected a Grand Junction, Colorado, law
              that, like Dallas' ordinance, banned people from asking for money after sundown or
              within a certain distance of ATMs and restaurants. In October,ba Lowell, Massachusetts,
              law that banned panhandling in a broad area of downtown, echoing Dallas' "solicitation-
              free zones," met the same fate.

              Some cities aren't waiting to be taken to court. Denver has stopped enforcing its
              panhandling law, as has Madison, Wisconsin. "Any city that has a panhandling law on
                                                                                                                                         Page 65 of 114 PageID 1569




              the books should be taking a serious look at at least stopping enforcement and
              considering taking it off the books, because it's a sitting duck," Tars said in an interview
              last week Five days later DPD announced its crackdown
http://www.dallasobserver.com/content/printView/7990354                                                                                          4/5
5/14/2018                                                           Dallas Panhandling Law Unlikely to Survive Legal Challenge | Dallas Observer
              last week. Five days later, DPD announced its crackdown.

              Of course, sitting only becomes dangerous for ducks when there's someone shooting at
              them, which is to say that Dallas is free to crack down on panhandlers as hard as it likes
              until and unless some convicted panhandler files a lawsuit.


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                              12
5/14/2018                                                  Dallas Panhandling Policy Update: It's OK to Beg, Mostly | Dallas Observer
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5/14/2018                                                      Dallas Panhandling Policy Update: It's OK to Beg, Mostly | Dallas Observer


              An innovative panhandling solution                                                                                            Blake Burkhart



              Dallas' Panhandling Situation Isn't Nearly
              as Complicated as the Police Chief
              Makes it Sound
              STEPHEN YOUNG            JANUARY 9, 2018     4:00AM


              Right now, Dallas residents and visitors are free to panhandle whenever they want,
              however they want, as long as they don't solicit from people in cars or commit another
              criminal offense, like assault. That's the upshot of the Dallas Police Department's new
              training bulletin on panhandling enforcement, issued in response to a potential legal
              challenge of the city's "solicitation by coercion," or aggressive panhandling, ordinance.
              Listening to new Dallas Police Chief U. Renee Hall talk to the Dallas City Council's Public
              Safety Committee about panhandling Monday, however, you'd never know it.
                                                                                                                                                             Case 3:18-cv-00076-N Document 97 Filed 08/26/19




              Early in Monday's meeting, City Council member Sandy Greyson asked Hall whether
              newspaper stories saying that DPD can't enforce existing panhandling regulations
              because they are likely to be found unconstitutional were accurate.

              "The ordinance is not telling us that we can enforce panhandling, per se. The ordinance
              tells us from the Dallas Police Department, that we're able to enforce certain provisions
              of the panhandling ordinance, which is those areas surrounding. Now, the city ordinance
              tells us that you can enforce panhandling. So what we're saying, and what we've been
                                                                                                                                                             Page 69 of 114 PageID 1573




              advised, and what this body has been advised, is that panhandling within itself has been
              deemed unconstitutional," Hall said.

http://www.dallasobserver.com/content/printView/10239378                                                                                                             2/5
5/14/2018                                                  Dallas Panhandling Policy Update: It's OK to Beg, Mostly | Dallas Observer


              "Unconstitutional? Or it's been deemed constitutional?," Greyson asked.

              "I'm sorry. Constitutional. And so, enforcement of it opens us up for litigation," Hall said.

              So the answer to Greyson's question was, we're pretty sure, "Yes, the stories were right."

              Then, City Council member Philip Kingston asked Hall if the city still had any
              panhandling free zones, like Deep Ellum or the Central Business District.

              "Any panhandling free zone that's existed, we have not changed any panhandling free
              zones," Hall said. "I think we have to work with legal to figure out if those zones are
              actually enforceable, if we are able to actually keep them as a panhandling free zone
              based on the ordinance."

              "So, today, are officers able to write citations based on the panhandling free zones?"
              Kingston asked.
                                                                                                                                        Case 3:18-cv-00076-N Document 97 Filed 08/26/19




              "Right now, officers are writing citations based on the two ordinances that have been
              issued to them from our roll call training bulletin," Hall said. "These are the [ordinances]
              that we've said are enforceable for the Dallas Police Department."



                    "It's not hard to get in touch with us. I don't want to read about it
                       in the paper. Just let us know." – City Council member Adam
                                                  McGough
                                                                                                                                        Page 70 of 114 PageID 1574




              "That does not include the panhandling free zones," Kingston said.
http://www.dallasobserver.com/content/printView/10239378                                                                                        3/5
5/14/2018                                                  Dallas Panhandling Policy Update: It's OK to Beg, Mostly | Dallas Observer


              "We have not given direction on the panhandling free zone. We've only instructed
              officers to enforce those ordinances that we have issued to them in a training bulletin,"
              Hall said.

              "And not enforce anything else?" Kingston asked.

              "To enforce those that we've issued in a training bulletin. It is our obligation when we're
              put in these positions to ensure that puts the city and/or the police department in a
              position of litigation that we move in an aggressive manner to prevent that," Hall said.

              This is a tougher one, but our best reading is that she said "No, we're not enforcing
              panhandling free zones."

              The chief went on to tell both Kingston and committee chairman Adam McGough that
              she should've done a better job informing the council of the enforcement policy changes
              before they were implemented in December.
                                                                                                                                        Case 3:18-cv-00076-N Document 97 Filed 08/26/19




              "I would appreciate not just an attempt [to communicate better with us]," McGough said.
              "It's not hard to get in touch with us. I don't want to read about it in the paper. Just let us
              know."

              Speaking in plain English would be helpful to both the council and the media, but that's
              just our suggestion.

              The council's next look at panhandling is scheduled for Feb. 26, when city staff will
                                                                                                                                        Page 71 of 114 PageID 1575




              provide on update on "Give Right Dallas," the city's yet-to-begin marketing campaign
              intended to cut off panhandling at the source by encouraging those who would
              otherwise give to individuals to give to homeless support organizations. Or maybe the
http://www.dallasobserver.com/content/printView/10239378                                                                                        4/5
5/14/2018                                                           Dallas Panhandling Policy Update: It's OK to Beg, Mostly | Dallas Observer

              city could have officers explain the program to panhandlers until they get bored and
              confused and just go away.


                                              RELATED TOPICS:   NEWS            CITY HALL             CRIME        POLICE




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             Case 3:18-cv-00076-N Document 97 Filed 08/26/19                                  Page 84 of 114 PageID 1588

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                            Exhibit
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8/21/2018                                                     Weed Activist Running for Texas Governor to Re-legalize - Crossroads Today
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   Weed Activist Running for Texas Governor to Re-
   legalize
   Posted: Dec 07, 2017 10:21 AM CST
   Updated: Dec 07, 2017 10:21 AM CST
   by Amber Joseph, News Interactive Producer   CONNECT


   Yvette Gbalazeh, cannabis activist known for using her “Will Rap 4 Weed” sign to change policies,
   is running for Texas Governor in 2018 to re-legalize Weed. The University of Texas Political
   Science Poll 2017 states that 18 million Texans want cannabis re-legalized, whether it’s for
   religious freedom, medical use, or recreational use. Yes, 18 million Texans want relegalization.
   Gbalazeh reminds us, “Only 2 million people voted for the current Texas Governor in the last
   race. But 18 million or 83% of Texans want CANNABIS LEGALIZED, and we’re not getting it. It
   doesn't matter what the topic is, when 83% of us want something we should have it. Topics like:
   Debt, Opioid Abuse, Support for Veterans, Fracking, Immigration, Transgender Bathrooms,
   Health Care, Poverty, and reducing Violence are all issues Texans face. None of those issues are
   going to be addressed if the biggest issue that 83% of us want is being ignored. So I’m running in
   the 2018 Texas Gubernatorial race to represent 83% of Texans. I can’t do this from the couch. I
   have to be in the race standing next to the Governor to force the issue. As a full time activist, I
   know there are a lot of important issues Texans have other than cannabis legalization.
   Thankfully, revenue from cannabis legalization helps solve a lot of them.” Since Òling to run in
   July 2017, Gbalazeh has gathered more than 50,000 pledges for the OÕcial Petition beginning
   March 7, 2018 - June, 2018.

   You can learn more about Gbalazeh’s campaign by visiting Facebook.com/TXHumanBill.

   Gbalazeh’s Thoughts on the Governor’s Job

   “Although proud of my past, it doesn’t matter what my race, gender, religion or opinions are
   when I am here to do a job, simply passing laws Texans want passed, and holding unlimited
   special sessions to force joint resolutions for Texans to choose what Texans want. I won’t be
   making the decisions, Texans will. I’m just collecting data and giving the majority what the
   majority wants.”

   -Yvette Gbalazeh

   My Bio

   People are interested in my background, so my Father is a Medical Doctor and Lawyer. My
   Mother is a retired Registered Nurse and owned a gourmet restaurant I managed while I was a
   kid. Both parents are remarried. I have one sister Yvonne, she played in the Final Four for
   Stanford Women’s Basketball. She runs marathons for kids with Leukemia, went to Wharton
   Business School, interned at Lehman Brothers, and became an investment banker. We both
   went to Our Lady of Victory private elementary school, raised Roman Catholic.

   Born in Victoria, Texas on March 27, 1981, I started college courses at 16 years old, and walked
   on to the University of Houston competition cheer squad at the age of 17 as a tumbler.

   I was diagnosed with an eating disorder and OCD in my youth and received treatment at Charter
   Hospital in Corpus Christi in 1998, where my eating disorder specialist recommended cannabis. I
   was dying and Charter Hospital saved my life. I was able to get out of college with an Associates
   Degree in the Arts, majoring in Psychology. I was sick and couldn’t stay well with my medicine as
   a student at U of H. It was against the law.

   I earned my black belt in Tae kwon do from my 2nd father, Master Ralph Jaschke. He is beating
   cancer. The Might for Right in my life is shaped by Ralph. In my 20’s I worked so many jobs/gigs,
   mainly in the service industry and entertainment. A lover of the arts, the music world pulled me
   in through a group called Whodini. They shaped me to be an activist and use the power of my
   words to make positive change.

   Living in Cut-N-Shoot, Texas on McRae Lake with my dog for 3 years, and learned to live on solar
   panels and natural water. The community helped me Ònd myself after leaving an abusive
   situation. I re-learned the Bible as an adult and started my vow of poverty and celibacy. In 2006 I
   hit the road to California and entered Hollywood blvd. with my new vows, Ònding immediate
   success as an activist serving others, instead of an entertainer just serving self.



http://www.crossroadstoday.com/story/37016934/%20weed-activist-running-for-texas-governor-to-re-legalize                                                      1/3
8/21/2018                                                   Weed Activist Running for Texas Governor to Re-legalize - Crossroads Today
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   In California, I learned that I’m an intelligent person who has a lot to give to society. I am a               Page 93 of 114 PageID 1597
   patient, not a criminal. I have a lot to o×er my community and needed to maximize that. I’m not
   HOME          NEWS          WEATHER           SPORTS     SUNRISE        COMMUNITY            BUSINESS         OBITUARIES   ENTERTAINMENT   TV SCHEDULE      DOC
   a throw away just because I take medicine to be productive. Cops and civilians were getting
   along. I saw people thriving who would be dying and in prison in Texas. I had to help Texans get
   this peace and prosperity. I came home, kissed the ground outside of the airport, and got out my
   sign that read “Will Rap 4 Weed”.

   Creating awareness to decriminalize began in Houston, TX. Getting the approval of Houston
   Mayor Annise Parker resulted in news coverage and a documentary by Rice University on my
   work. This media attention made the decriminalization policy I was promoting so popular that I
   was able to make it the platform for both DA’s running for oÕce, resulting in the current
   successful decriminalization of Harris County.

   Seeing activism works, I moved to Dallas to decriminalize, which took 3 1/2 years. During this
   time I enrolled at Oaksterdam University learned everything about cannabis, earning
   valedictorian of my class.

   After a decade of living in the Texas Legislative Process, and studying the political climate, I see
   an opportunity to legalize in 2018 and Òne tune Texas to be how the majority of Texans want Us
   to be. I know one person can really change a law or policy.



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http://www.crossroadstoday.com/story/37016934/%20weed-activist-running-for-texas-governor-to-re-legalize                                                       2/3
8/21/2018                                      Weed Activist Running for Texas Governor to Re-legalize - Crossroads Today
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8/21/2018                                DPD Chief Seeks To Clear-Up Confusion Over Anti-Panhandling Ordinance « CBS Dallas / Fort Worth
              Case 3:18-cv-00076-N Document 97 Filed 08/26/19                                                 Page 109 of 114 PageID 1613
                                                                                                                                         CBS 11 News
                                                      MENU          NEWS        WEATHER            SPORTS         VIDEO        BEST OF ONCONTESTS
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  DPD Chief Seeks To Clear-Up Confusion Over
  Anti-Panhandling Ordinance
   By Jack Fink    January 8, 2018 at 7:50 pm   Filed Under: City Of Dallas, City Ordinance, dallas police, Local TV, panhandler, panhandling, panhandling ordinance




                  Enforcement Of Anti-Panhandling Ordinance B
                  Questioned In Dallas




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                     DALLAS (CBS11) – Dallas Police Chief U. Renee Hall sought to clear
                     up any confusion about her department’s enforcement of the city’s                                                    Subscribe Now!
                     anti-panhandling ordinance.

                     Hall told reporters Monday, “We are in no way stepping back from
                     our responsibility.”                                                                               MOST VIEWED

                     Earlier, she told the public safety committee that they’re having                                   1    'He's Dead, Please Don't Shoot Me': Body
                                                                                                                              Cam Video From Teen Shooting Shown At
                     their of×cers continue targeting panhandlers in the streets or on                                        Former Texas Of×cer's Trial 
                     sidewalks who ask drivers for money.
                                                                                                                         2    Greyhound Passengers Stranded In Dallas,
                                                                                                                              Employee 'Beat Up' After Bus Wheel Fire 



https://dfw.cbslocal.com/2018/01/08/anti-panhandling-ordinance/                                                                                                          1/4
8/21/2018                             DPD Chief Seeks To Clear-Up Confusion Over Anti-Panhandling Ordinance « CBS Dallas / Fort Worth
            Case 3:18-cv-00076-N
               But                      Documentanother
                   the department is de-emphasizing 97 Filed 08/26/19
                                                        part the ordinance Page 110 of 114
                                                                                3 Missing      PageID
                                                                                          University Of Iowa1614
                                                                                                             Student Mollie
                  which targets panhandlers in special zones the city established,                          Tibbetts Found Dead 

                  such as store parking lots and around ATMs in downtown, Uptown                       4    'I Kissed My Wife Goodbye': Victim Shares
                  and Deep Ellum.                                                                           Story Of Terrifying Armed Robbery In Fort
                                                                                                            Worth 

                  Chief Hall told council members, “We have to work with legal to                      5    Baby Stabbed To Death In Lewisville
                                                                                                            Identi×ed; Police To Charge Father 
                  ×gure out if those zones are actually enforceable.”
                                                                                                       6    Police: Father Yelled 'Jesus Is Coming'
                                                                                                            Before Fatally Stabbing 16-Month-Old Son
                  Chief Hall says for now, there are questions about these zones,                           
                  because other cities with similar ordinances as Dallas have lost legal
                                                                                                       7    Texas Deputy Accused Of Child Rape Dies
                  challenges after the courts have found the act of panhandling itself
                                                                                                            In Apparent Suicide 
                  is not illegal, and protected by the First Amendment.
                                                                                                       8    2 Arrested In Attack On Texas Woman
                                                                                                            With $75,000 In Her Purse 

                                                                                                       9    Post Malone's Plane To Make Emergency
                                                                                                            Landing After 2 Blown Tires 

                                                                                                       10   Dallas Police Chase Ends With Fiery Crash
                                                                                                            Involving 5 Vehicles 




                  panhandling in Dallas (CBS11)


                  Council members told her they weren’t happy because they read
                  about the change in the Dallas Morning News.

                  Councilman Philip Kingston told Hall, “I do think this is a major
                  change in enforcement policy. The September 20 brie×ng did not
                  include an immediate change in policy and there was not a warning
                  in December there would be some change. I didn’t particularly
                  appreciate that.”

                  Chief Hall responded by saying, “It is not our intention to disrespect
                  this body or the council as a whole.”

                  Councilman Adam McGough, the chairman of the Public Safety
                  Committee, said, “It’s not hard to get in touch with us. I don’t want
                  to read about it in the paper, just let us know.”

                  The President of the Dallas Police Association, Mike Mata, says his
                  members are still unclear about the department’s policy. “I think the
                  more questions are those parking lots, those ATMs, those grocery
                  store parking lots. Could you get an offense of criminal trespass
                  Absolutely, but you’d have to have a complainant and the
                  complainant would have to b the store owner.”

                  Chief Hall said the police will still prosecute aggressive panhandlers
                  who threaten or assault people.


https://dfw.cbslocal.com/2018/01/08/anti-panhandling-ordinance/                                                                                         2/4
8/21/2018                                DPD Chief Seeks To Clear-Up Confusion Over Anti-Panhandling Ordinance « CBS Dallas / Fort Worth
                 Case 3:18-cv-00076-N
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                               organizations are           97theFiled
                                                 exempt from          08/26/19
                                                                 panhandling                              Page 111 of 114 PageID 1615
                         ordinance, but they must register with the city.


                                                  Jack Fink
                                                                Follow @CBS11Jack

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ROLL CALL
TRAINING BULLETIN
#2018 – 03
Date: 02-08-2018                             Document Control # Pending


This Roll Call Training Bulletin updates and supersedes previously issued RCTB #2017-18

At this time, and until further notice, a Dallas Police Department officer shall not
enforce or cite solicitation under Dallas City Code Section 31-35, “Solicitation by
Coercion; Solicitation Near Designated Locations and Facilities; Solicitation After
Sunset; Solicitation-Free Zones,” of the Dallas City Code.
A Dallas Police Department officer may enforce and cite solicitation to occupants of vehicles on public
roadways under the following law:

DALLAS CITY CODE SEC. 28-63.3. SOLICITATIONS TO OCCUPANTS OF VEHICLES ON
PUBLIC ROADWAYS PROHIBITED.
A person commits an offense if, while occupying any public property adjacent to any public roadway in
the city, he knowingly conducts a solicitation directed to, or intended to attract the attention of, the
occupant of any vehicle stopped or traveling on the roadway. An offense occurs when the solicitation is
made, whether or not an actual employment relationship is created, a transaction is completed, or an
exchange of money, goods, or services takes place.
(c) It is a defense to prosecution under Subsection (b) that the person was:
(1) summoning aid or requesting assistance in an emergency situation; or
(2) a law enforcement officer in the performance of official duties.
(d) In addition to any enforcement action by a peace officer for a violation of this section, any person
who is a victim of a solicitation prohibited under Subsection (b), or who witnesses a violation of
Subsection (b), may file a complaint with the city attorney. Evidence to support a conviction for a
violation of this section may include, but is not limited to, testimony of witnesses, videotape evidence of
the violation, and other admissible evidence. (Ord. 25213)

In addition to the above law, a Dallas Police Department officer may enforce a variety of other laws
separate from the solicitation itself, such as assault by threat (Texas Penal Code § 22.01(a)(2)), assault
(Texas Penal Code § 22.01(a)(1)), disorderly conduct (Texas Penal Code § 42) and littering (Dallas City
Code § 7A).



If you have any questions, please contact the Criminal Law & Police Unit 214-671-3430.
